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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

     In re:                                           *        Case No. 2:23-bk-53043
     WELCOME GROUP 2, LLC, et al.,1                   *        Chapter 11
                                                      *        Judge Mina Nami Khorrami
                             Debtors.                 *
                                                      *        Jointly Administered


      OBJECTION OF HILLIARD HOTELS, LLC TO HILTON FRANCHISE HOLDING
          LLC’S MOTION FOR RELIEF FROM AUTOMATIC STAY (Doc. 166)


          Comes now Hilliard Hotels, LLC, by and through its undersigned counsel, and hereby

 objects to the Motion for Relief from Automatic Stay (the “Motion”) (Doc. 166) filed by Hilton

 Franchise Holding, LLC (“Hilton” or “Movant”), and respectfully requests that the Court

 overrule and deny said Motion as Movant has failed to establish cause for the granting of the

 relief requested, as more fully set forth in the Memorandum below.

                                                               /s/ Ira H. Thomsen
                                                               Ira H. Thomsen (0023965)
                                                               Darlene E. Fierle (0081217)
                                                               Denis E. Blasius (0082617)
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                                                               Thomsen Law Group, LLC
                                                               Case Attorney and Counsel for
                                                               Debtors/Debtors-in-Possession
 1
  The Debtors and the last four digits of their federal tax identification numbers are as follows: Welcome Group 2,
 LLC (6795), Hilliard Hotels, LLC (6063), and Dayton Hotels, LLC (1123). The Debtors’ headquarters are located
 at 5955 E. Dublin Granville Road, New Albany, Ohio 45305.
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                                               MEMORANDUM


         I.       FACTUAL BACKGROUND:

         The Court will recall that at the hearing on First Day Motions and the Motion to Excuse

 Turnover, there was a recognition that the Property Improvement Plan (“PIP”) and retention of

 the Hilton “flag” was a critical element in these Chapter 11 proceedings. Accordingly, on

 October 4, 2023, counsel for the Debtor provided counsel for Hilton with a proposed PIP. Based

 upon the concern of counsel for Hilton, on November 17, 2023 counsel for the Debtor provided

 counsel for Hilton with the “Sources and Uses of Funds” to complete the PIP.2 It was not until

 January 8, 2024, that counsel for Hilton advised counsel for the Debtor that Hilton would not

 accept the PIP completion schedule as proposed by the Debtor. In mid-January, counsel for the

 Debtor supplied counsel for Hilton with a revised PIP completion schedule, which showed a PIP

 completion of Fourth Quarter/December 2024, which counsel followed up with a ‘red-line’ of

 the revised PIP.3 On February 28, 2024, Hilton filed the Motion.



         II.      SUMMARY OF RELIEF REQUESTED:

         In the Motion, Hilton alleges that “cause” exists for termination of the automatic stay

 based upon: (1) the alleged default by Hilliard Hotels, LLC (hereinafter “Hilliard” or the

 “Debtor”) on payment of its post-petition franchise fees, (2) the alleged inability of the Debtor to

 assume the Hilton Franchise Agreement, (3) the alleged “incurable default” with regard to the

 PIP; and (4) the denigration of the value of the Hilton “franchise”, argued as lack of adequate

 2
   The Statement of Abhijit (Andy) Vasani shows that the Debtor has already spent over 1.5 million dollars on the
 PIP and continues to make PIP improvements to this day.
 3
   On January 10, 2024, the Debtor received confirmation from Hilton that the “exterior” scope of the PIP had been
 accepted and the interior scope was still “under review”. See Vasani.Statement.
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 protection. However, none of these enumerated grounds for granting relief from stay hold water.

        First, as set forth in the Statement of Abhijit (“Andy”) Vasani attached hereto as Exhibit

 “A” and incorporated by reference herein (the “Vasani Statement”), the Debtor is current on all

 post-petition franchise fees and is not in default for failure to make payments. To allege

 otherwise and attempt to collect pre-petition franchise fees is a violation of the automatic stay.

 This is addressed simply and directly by Mr. Vasani in his Statement and needs no further

 comment.

        Regarding the ability of the Debtor to assume the Hilton Franchise Agreement, Movant

 cited cases that are not favored in the Sixth Circuit and have been called into question by more

 recent holdings. The Debtor asserts that it has the ability to assume the Hilton Franchise

 Agreement pursuant to the Bankruptcy Code as set forth in greater detail below.

        As to the alleged “incurable default” – the completion of the PIP – Debtor asserts that any

 alleged default is in fact curable, and Debtor has a plan in place to complete the PIP in a

 relatively short period of time. It should also be noted that Movant alleged inaccurately that the

 Debtor proposed to complete the PIP by March of 2025. The most recent PIP submitted to

 counsel for Hilton shows a completed PIP by December 2024.

        Finally, allowing additional time for the Debtor to complete the PIP will not harm the

 Hilton brand, and Hilton is adequately protected based on the actions of the Debtor and its

 continued cooperation with Hilton. In fact, Hilton, and not the Debtor, initiated and secured a

 multi-year commitment for the Debtor from a major international company. Hilton clearly sees

 significant value in its Hampton Inn – Sidney franchise.




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         III.   LAW AND ARGUMENT



        Hilton has not established sufficient cause for relief from the automatic stay to be

 granted, and as such the Motion should be denied. Hilton requests relief from the automatic stay

 under 11 U.S.C. §362(d)(1) which states:


        “(d) On request of a party in interest and after notice and a hearing, the court shall
        grant relief from the stay provided under subsection (a) of this section, such as by
        terminating, annulling, modifying, or conditioning such stay—

                (1) for cause, including the lack of adequate protection of an interest in
                property of such party in interest;”

        Hilton has not demonstrated sufficient “cause” to warrant relief from stay in this

 matter, and the Motion should be denied. In In Re: Evergreen Site Holdings, LLC, 652

 B.R. 286 (Bankr. S.D. Ohio, 2023), this Court clearly and succinctly set forth the

 requirements necessary for a creditor to obtain relief from stay for “cause”. This Court

 recognized that “the Bankruptcy Code does not define what constitutes sufficient cause.

 ‘Instead, a bankruptcy court must determine whether sufficient cause exists on a case-by-

 case basis.’” Id. at 292, citing In re Chari, 262 B.R. 734, 737 (Bankr. S.D.Ohio 2001).

 “The Court must weigh the potential harm to the creditor caused by the stay versus the

 potential prejudice to the debtor, if any, that would be caused by relief from the stay.” Id.

 In addition, the Court noted that “[t]he term “cause” is a broad and flexible concept that

 permits the bankruptcy court to respond to the fact-sensitive issues before it.” Id. citing In

 re Indian River Estates, 293 B.R. 429, 432 (Bankr. N.D. Ohio 2003).




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     1. Hilton has not established the existence of “cause” under 11 U.S.C.§362(d)(1)
        because the prejudice to Debtor outweighs the harm to Hilton

          Here, the prejudice to Debtor clearly outweighs the harm to Hilton. This is

 evident by the facts set forth in Hilton’s own Motion. Hilton states that “Hilliard agreed

 to a property improvement plan dated December 15, 2016, which is incorporated into the

 Franchise Agreement (the “PIP”). The PIP contains distinct phases, and all work pursuant

 to the PIP was required to be completed by March 2023” (See Motion, Page 2, Footnote

 2, Emphasis added). Hilton acknowledges that Debtor had until at least March 2023 to

 complete the PIP,4 a duration of over six years. This is a long-term financial commitment

 requiring substantial work by both parties. The nature of the PIP work and the timeline

 for completion is not necessarily black and white. The work to be completed pursuant to

 the PIP has required significant time and funds to complete, along with continued

 coordination with Hilton on the numerous phases and timelines.

          To date, Debtor has spent over $1.5 million towards completion of the PIP (See

 Vasani Statement). As a result, the Debtor is closer to compliance with the Hilton

 branding requirements than it has been since the PIP process began over six years ago.

 Yet, in the Motion, Hilton states that “Hilton Franchise’s well established reputation to

 the general public is at risk the longer that the Facility remains non- compliance with

 brand standards…. The balancing of the harm tips in favor of Hilton Franchise, and relief

 from stay under Section 362(d)(1) is appropriate.” (See Motion, Page 15). But this cannot

 be the case. The PIP process envisioned a lengthy and costly process, during which the

 Debtor would technically not be in full compliance with the Hilton branding

 4
  Notwithstanding anything to the contrary stated herein, Debtor does not agree that they are in default or that there
 was a clear and hard deadline of March 2023 to complete the PIP.
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 requirements. It is hard to believe that Hilton allowed the Debtor to seriously “harm” the

 Hilton brand during the PIP process, which Hilton agrees would last over six years.

 Debtor has proposed a plan to fully comply with the PIP by the end of 2024. An

 additional, comparably short period of time, cannot truly cause such harm to the Hilton

 brand, especially given the substantial progress that Debtor has made to date. Further, the

 Debtor’s hotel is highly ranked by its guests. On Tripadvisor.com, the Debtor’s hotel is

 currently ranked the number one hotel in Sidney, Ohio. The hotel also has the highest

 rating on Hilton’s own website in the area.5 These particular rankings are made by loyal

 Hilton customers who have certain expectations for the brand, and based on these

 reviews, are clearly satisfied.

            Given these facts, it is unclear to the Debtor how it could possibly be harming the Hilton

 brand. On the other hand, if the Motion is granted, substantial harm would be caused to the

 Debtor. Hilton states that it “seeks to insure and, if necessary, compel the Debtor to satisfy its

 non-monetary post-termination obligations to de-identify the Facility by, (i) all billboard signs,

 interior signs, exterior signs (whether located on or off the premises), entrance signs, forms of

 display, guest room supplies and equipment, and all other items bearing any of Hilton

 Franchise’s registered service marks and trade names and logos; (ii) listings in telephone

 directories, the internet, web sites, travel guides, hotel indices, or similar guides, and all other

 publications or forms of media; and (iii) all of Hilton Franchise’s proprietary materials,

 including, but not limited to, operations and training manuals, guest cards, stationary, policy

 statements, computer hardware, and licensed software.” (See Motion, Pages 2, 3). If Hilton is

 successful in obtaining relief from stay as requested in the Motion, not only has Debtor lost the

 5
     This ranking, 4.5 out of 5 stars, is shared by some other hotels in the area, but there is no hotel ranked higher.
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 benefit of its substantial investment in the Hilton franchise, it will be faced with a costly

 financial burden, and a significant decrease in income while Debtor rebrands and updates its

 listings in phone, web sites, and travel guides, among other issues.

        It should also be noted that Debtor has just entered into a multi-year commitment

 with a major international company which will generate substantial revenue for the

 Debtor and the Hilton brand. Puzzlingly, this was actually done with the cooperation of

 Hilton, and Hilton has continued to coordinate with the Debtor, even after the Motion

 was filed.

        Given that Debtor was permitted to operate under the Hilton flag during the entire

 PIP period, that significant progress has been made in completing the PIP, that the only

 thing Debtor needs to complete the PIP is a short additional period of time, and the

 Debtor’s high rankings and positive reviews on multiple websites, there will be no

 “damage” to the Hilton brand.

        The prejudice to Debtor, after investing over $1.5 million dollars and completing

 a significant portion of the PIP, compared to the risk to Hilton if Debtor were to continue

 use of the Hilton brand, weighs heavily in favor of Debtor and the Court should deny the

 Motion.



 2.     The Bankruptcy Code permits the Debtor to assume the Hilton Franchise
        Agreement.


        Movant rests a significant portion of its argument on its assertion that the Hilton

 Franchise Agreement cannot be assumed, for the reason that the Debor fails the “hypothetical

 test” – that is, if the Franchise Agreement cannot be assigned it cannot be assumed. This
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 “hypothetical test” has been rejected by cases in the Sixth Circuit and more recent Court

 opinions. In re Ohio Skill Games, 2010 WL 2710522 (Bankr. ND OH Eastern Division 2010)6;

 In re Jacobsen, 465 B.R. 102 (Bankr. ND MS 2011); In Re Cardinal Industries, Inc., 116 B.R.

 964 (Bankr. SD OH Eastern Division 1990).

           The issue in the Jacobsen case is virtually identical to the issue before the Court –

 assumption of a franchise agreement. The franchisor sought to prohibit the Debtor from

 assuming the franchise agreement based upon its reliance on the exact cases cited by Movant, In

 re Catapult Entertainment, Inc. and In re West Electronics and reliance by those courts on the

 “hypothetical test” in regard to 11 U.S.C.§365(c)(1).

           The Jacobsen Court rejected this reliance on a “hypothetical test” when no assignment by

 the Debtor was contemplated. The language in the Jacobsen cases sums up the correct view of

 the ability of a Chapter 11 Debtor to assume a franchise agreement:

           “To determine the applicability of § 365(c)(1), Sonic advocates the utilization of the “hypothetical test”
           which emerged in the cases of In re West Electronics, Inc., 852 F.2d 79, 83 (3rd Cir.1988); Perlman v.
           Catapult Entertainment, Inc., (In re Catapult Entertainment, Inc.), 165 F.3d 747, 750 (9th Cir.1999), and
           In re Wellington Vision, Inc., 364 B.R. 129 (S.D.Fla.2007). Those decisions effectively held that under the
           “hypothetical test,” a debtor could be precluded from assuming an executory contract even when the
           applicable law would not bar the assumption in the actual circumstances before the court, but would bar the
           assignment to a hypothetical assignee because, under applicable law, the non-debtor party could refuse
           performance to or from the hypothetical assignee. This approach takes the somewhat nonsensical *106
           path that would prevent the assumption of an executory contract if applicable law would preclude
           the assignment of that contract, even when no assignment was intended or contemplated. (Emphasis
           added).

           Numerous courts have rejected the “hypothetical test” approach in favor of an “actual test” to determine
           whether applicable law excuses a non-debtor party to the executory contract from performance. See,
           Summit Inv. & Dev. Corp. v. Leroux, 69 F.3d 608, 613 (1st Cir.1995); Cajun Elec. Members Comm. v.
           Mabey (In re Cajun Elec. Power Co-op., Inc.), 230 B.R. 693, 705(Bankr.M.D.La.1999); In re Lil’ Things,
           Inc., 220 B.R. 583, 587 (Bankr.N.D.Tex.1998); Texaco Inc. v. La. Land & Exploration Co., 136 B.R. 658,
           669 (Bankr.M.D.La.1992) (concluding the West hypothetical test is incorrect for three primary reasons);
           In re Hartec Enters., Inc., 117 B.R. 865, 871 (Bankr.W.D.Tex.1990); and In re Footstar, Inc., 323 B.R.
           566 (Bankr.S.D.N.Y.2005).”

           This Court should follow the Jacobsen line of cases and reject the argument of Movant in

 6
     A copy of this opinion is attached hereto as Exhibit “B”
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 regard to assumption of a franchise agreement.



 3.     The Bankruptcy Code permits the Debtor to cure any alleged default of the Hilton
        Franchise Agreement.


        Hilton’s Motion states that “the Debtor’s failure to complete Property Improvement Plan

 (“PIP”) as and when required in the Franchise Agreement is a historic and incurable default

 under the Franchise Agreement”. (See Motion, Page 7). This statement stands in direct

 contradiction to the actions of Hilton pre and post petition, up until the filing of the Motion and

 even after the filing of the Motion.

        As stated in the Motion, “a debtor must cure most defaults arising from an executory

 contract that is not a real property lease – both monetary and non-monetary); In re Eagle Creek

 Subdivision, LLC, 397 B.R. 758 (Bankr. E.D.N.C. 2008)”. Many Courts require that the

 default must be material or cause substantial economic detriment before a debtor is precluded

 from assuming an executory contract. See, Eagle Creek at 764, citing In re Joshua Slocum Ltd.,

 922 F.2d 1081, 1092 (3d Cir.1990); In re New Breed Realty Enters., Inc., 278 B.R. at 321. The

 alleged default is curable and there is no economic detriment to the completion of the PIP to

 either Debtor or Hilton.

        Hilton acknowledges in the Motion that Debtor had over six years to complete the PIP

 process and allowed the Debtor to continue to operate during this time, even though Debtor was

 technically in noncompliance of Hilton brand standards. Debtor has been working for years with

 Hilton to bring everything to brand standards. If the failure to complete the PIP by the deadline

 asserted in the Motion was truly an “incurable” default causing significant harm to the Hilton

 brand, Hilton should have terminated the Franchise Agreement, thereby saving the Debtor
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 substantial financial and time commitment.

           Instead, Hilton continued to work with Debtor, and has done so even after the filing of

 the Motion. In post-petition communications with Hilton and its counsel, Hilton has encouraged

 the PIP and its completion. Debtor’s latest PIP proposes to bring the Debtor to Hilton brand

 standard by the end of 2024. This is not an unreasonable timeline in light of the filings in this

 case. Debtor can cure the PIP default and has been working pre and post petition towards that

 very result. Clearly the actions, or inactions of Hilton in the past show that the completion of the

 PIP is a curable default and relief from stay should be denied.

           Lastly, non-completion of a PIP pre-petition is a curable default in Chapter 11 bankruptcy

 and to suggest otherwise would be in contravention of the Bankruptcy Code. There are

 numerous cases in which Chapter 11 Debtors are preparing, implementing, and completing PIPs

 in their Chapter 11 cases, thereby curing defaults with their agreements7. Furthermore in the

 case of In re Nesbitt Portland Property, LLC, it was Hilton specifically that worked with the

 Debtor for the completion of the PIP8. For Hilton to suggest that the failure to complete the PIP

 is an incurable default is completely contradictory to their actions in other cases and in

 contravention to the rights of the Debtor under the Code. Accordingly, the Motion should be

 denied.



 4.        Hilton has not established the existence of “cause” under 11 U.S.C.§362(d)(1)
           because their brand reputation is not at risk and their interests are adequately
           protected.

           Movant goes to great lengths to argue that, because the Debtor did not complete the PIP


 7
     In re Scarlet Hotels, LLC, 392 B.R. 698 (2008);
 8
     2013 WL 588958. USBC, C.D. California, N. Div.
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 by a designated time, “Hilton Franchise’s well established reputation to the general public is at

 risk the longer that the Facility remains non-compliance (sic) with brand standards” (citation

 omitted). (Motion, Page 15). Movant argues that “Hilliard’s failure to complete the PIP reflects

 a failure of Debtor to adequately protect the interests of the Hilton franchise” (Motion, Page 13).

         Debtor has already provided Hilton’s counsel, at their request, with a “Sources and Uses

 of Funds” to complete the PIP. In addition to the facts set forth above, Hilton has been working

 continuously and constructively with the Debtor throughout the course of these Chapter 11

 proceedings and has secured a multi-year commitment from a major international company.

 (See Vasani Statement). It defies logic to assert that Hilton franchisor is not adequately protected

 while the Hilton franchisor is securing a multi-year commitment for the Debtor’s hotel, among

 the many other reasons stated herein.



         IV.      CONCLUSION:

         Hilton has not and cannot meet its burden to show cause for the granting of the requested

 stay relief. The prejudice to the Debtor significantly outweighs any potential harm to Hilton. In

 fact, what is clear from the interaction between Hilton and the Debtor is that Hilton wishes to

 continue its long-term relationship with the Debtor well into the future. The Franchise

 Agreement can be assumed by the Debtor, any alleged default can be and is in the process of

 being cured, and the Hilton brand is adequately protected. Debtor is current on payment of all

 post-petition franchise fees. Hilton uses an inaccurate factual basis to support arguments and, as

 such, those alleged facts should be disregarded by the Court. Accordingly, for all the reasons

 and authorities cited, Debtor prays that the Motion be denied and overruled, and for all just and

 proper relief.
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                                                     Respectfully submitted,

                                                     /s/ Ira H. Thomsen
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                                                     Thomsen Law Group, LLC
                                                     Case Attorney and Counsel for
                                                     Debtors/Debtors-in-Possession




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 25, 2024, a copy of the foregoing was
 served on all registered ECF participants, electronically through the court’s ECF System at the e-
 mail address registered with the court.


                                                     /s/ Ira H. Thomsen
                                                     Ira H. Thomsen (0023965)




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                                           EXHIBIT A




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

     In re:                                           *        Case No. 2:23-bk-53043
     WELCOME GROUP 2, LLC, et al.,1                   *        Chapter 11
                                                      *        Judge Mina Nami Khorrami
                             Debtors.                 *
                                                      *        Jointly Administered


     STATEMENT OF ABHIJIT (“ANDY”) VASANI IN SUPPORT OF OBJECTION TO
     HILTON FRANCHISE, LLC’S MOTION FOR RELIEF FROM AUTOMATIC STAY


          Abhijit (Andy) Vasani hereby submits the following Statement pursuant to 28 U.S.C.

 §1746 in support of the Objection to the Hilton Franchise, LLC Motion for Relief from the

 Automatic Stay.

          1.      Debtor has spent over $1.5 million on complying with the Hilton Property

 Improvement Plan (“PIP”) for the Hampton Inn-Sidney (the “Hotel”). Between 2022 and 2023,


 1
  The Debtors and the last four digits of their federal tax identification numbers are as follows: Welcome Group 2,
 LLC (6795), Hilliard Hotels, LLC (6063), and Dayton Hotels, LLC (1123). The Debtors’ headquarters are located
 at 5955 E. Dublin Granville Road, New Albany, Ohio 45305.
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 over $750,000.00 has been spent on, among other items, the following:

                a.     Guest Room Showers: Bulk bath amenities purchased and installed in
                       every room.
                b.     New HVAC in breakfast and common areas.
                c.     Onity locks (RFID compliant)
                d.     New ceiling tiles
                e.     Removed old wallpaper and applied knockdown texture with Hilton
                       approved paint in all guest rooms, meeting rooms, conference rooms and
                       common areas through the hotel.
                f.     Install Hilton approved wallpaper in all guest bathrooms.
                g.     Upgraded landscaping and exterior paint.
                h.     Replaced pool equipment and new pool paint in the pool room as well as
                       the pool itself.
                i.     Removed all wall mounted hairdryers and purchased new hairdryers for
                       guest rooms.
                j.     Upgraded Hilton signage with new logos where applicable.


        2.      In June 2023 and as part of the Hilton requirements, Debtor paid $21,373.00 to

 AT&T to purchase Wi-fi equipment.

        3.      In September 2023, Hilton gave our architects access to the Hilton Design Portal.

        4.      In October 2023, additional contracts were signed with AT&T as well as with JD

 Telecom, which were over $45,000.00, to install Wi-fi equipment to comply with the PIP.

        5.      In November 2023, new computers and software were installed at the front desk

 per Hilton’s requirements.

        6.      In December 2023, partial exterior drawings were approved for renovation by

 Hilton. Debtor continued working to obtain full approval.

        7.      In January 2024, full exterior approval was received from Hilton. Hilton

 approved and added our interior designer to their portal. Proof of funds were sent to Hilton per

 Hilton’s request.

        8.      The Hotel migrated over to PEP, Hilton’s new computer system, on November

 27, 2023. The Hotel is going live with Guest Messaging on April 22, 2024. The Hotel installed
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 the Hilton required EMV credit card readers at the front desk and they are updated and in use.

             9.       The Hotel is also in the beginning stages of installing UNOnet, Hilton’s network

 system, which will eventually integrate the televisions with streaming services in the guest

 rooms.

             10.      On or about February 2, 2024, Hilton contacted the general manager of the Hotel

 regarding securing a multi-year (3 year) commitment (the “Project”) for a major international

 company for the Hotel.

             11.      On February 22, 2024, Debtor received confirmation that Hilton had approved the

 “Project” and that it actually was the client that had selected the Debtor’s Hotel.

             12.      On February 27, 2024, the Debtor received the full scope of the room needs for

 the Project which amounted to $1.1 million of potential revenue.

             13.      On March 6, 2024, Hilton advised the Debtor it was determining the best method

 to “load your inventory” for the Project.

             14.      On March 20, 2024, Hilton emailed the Hotel’s Revenue Manager regarding the

 rates to be used for the Project.

             15.      On March 22, 2024, a representative of the Hotel sent a proposed “Welcome

 Letter” for the client to Hilton for review and approval.

             16.      On Tripadvisor.com, the Debtor’s hotel is currently ranked the number one hotel

 in Sidney, Ohio.

             17.      The Debtor’s hotel has the highest rating on Hilton’s own website in the area.2

 These particular rankings are made by loyal Hilton customers.

             18.      The Hotel is the preferred hotel by many international and national companies.

             19.      The Hotel is invited by Hilton to submit and participate in RFPs which are only

 2
     This rating, 4.5 out of 5 stars, is also shared by other hotels in the area.
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 sent to hotels meeting certain threshold of guest satisfaction and reputation.

        20.     The Hotel continues to receive this invitation, and has secured over $1.5 million

 in business related to the RFPs.

        21.     In regard to the pending Chapter 11 proceedings, the Hotel is current on all post-

 petition franchise fees.

        22.     In regard to the pending Chapter 11proceedings, I presented to our counsel a PIP

 that had been revised from a completion date from March 2025 to December 2024. It is my

 understanding that this revised PIP was sent to counsel for Hilton.




                                        CERTIFICATION

        I hereby certify that the foregoing statements made by me are true to the best of my

 knowledge and belief and that this Certification is executed under penalty of perjury.


                                                       /s/ Abhijit Vasani

                                                       Abhijit (Andy) Vasani
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                                                        EXHIBIT B
In re Ohio Skill Games Inc., Not Reported in B.R. (2010)
2010 WL 2710522




                                                                       The court has jurisdiction of this proceeding pursuant to
   KeyCite Yellow Flag - Negative Treatment                               28 U.S.C. §§ 1334 and the general order of reference
Disagreed With by In re Kazi Foods            of   Michigan,   Inc.,
Bankr.E.D.Mich., August 4, 2011
                                                                       entered in this district on July 16, 1984. Venue in this
                 2010 WL 2710522                                       district and division is proper pursuant to 28 U.S.C. §
   Only the Westlaw citation is currently available.                   1409. This is a core proceeding under          28 U.S.C.
      (NOT INTENDED FOR PUBLICATION)                                   157(b)(2). The following constitutes the court’s findings
          United States Bankruptcy Court,                              of facts and conclusions of law under Federal Rule of
                    N.D. Ohio,                                         Bankruptcy Procedure 7052.
                 Eastern Division.
                                                                       This opinion is not intended for publication or citation.
       In re OHIO SKILL GAMES INC, Debtor.                             The availability of this opinion, in electronic or printed
            Ohio Skill Games Inc., Plaintiff,                          form, is not the result of a direct submission by the Court.
                          v.
           Pace–O–Matic, Inc., Defendant.

                Bankruptcy No. 08–60560.
                            |
                 Adversary No. 08–6049.
                            |                                                        FACTUAL BACKGROUND
                      July 8, 2010.
                                                                       Debtor and Defendant were parties to an Amended and
                                                                       Restated Master Software License and Distribution
Attorneys and Law Firms                                                Agreement dated April 29, 2007 (hereafter “Agreement”).
                                                                       The Agreement was signed by Michael Pace (hereafter
Michael J. Moran, Gibson & Lowry, Cuyahoga Falls, OH,                  “Pace”), Defendant’s President and Chief Executive
for Plaintiff.                                                         Officer, and Jay Young, Debtor’s President. The
                                                                       Agreement amended a previous contract between the
Jean R. Robertson, Ronald M. McMillan, Calfee, Halter                  parties dating to 2004. At the time the Agreement was
& Griswold LLC, Cleveland, OH, for Defendant.                          executed, Debtor was owned by three individuals: Jay
                                                                       Young, Jan Anasis and Mildred Kowell.

                                                                       Defendant, designated as “Manufacturer” in the
                                                                       Agreement, designs and develops what it refers to as
                                                                       “skill-based amusement games.” Debtor contracted to
                                                                       distribute the games as set forth in the Agreement (and is
                                                                       referred to as “Distributor” in the Agreement). The games
 MEMORANDUM OF OPINION (NOT INTENDED                                   utilize proprietary software, also designed and developed
         FOR PUBLICATION)                                              by Defendant. The Agreement contained clauses relating
                                                                       to Defendant’s intellectual property, including section 2.5
                                                                       captioned “License.” At one point in the parties’
RUSS KENDIG, United States Bankruptcy Judge.                           relationship, Debtor had placed 3,500 games in Ohio, the
                                                                       peak of Debtor’s distributorship under the Agreement.
*1 The parties filed cross-motions for summary judgment
pursuant to Federal Rule of Bankruptcy Procedure 7056.                 The legality of the games that are the subject of the
Plaintiff-debtor, Ohio Skill Games Incorporated (hereafter             Agreement permeated the parties’ relationship. (More
“Debtor”), seeks summary judgment on counts one and                    detail on the legal challenges can be found in the Court’s
three of its complaint, while Defendant Pace–O–Matic,                  opinion dated April 21, 2009.) On October 25, 2007, laws
Inc. (hereafter “Defendant”) seeks summary judgment on                 governing the games were amended to remove the games
a count for declaratory judgment. The parties filed                    from the definition of “skill-based amusement machine”
responses opposing one another’s motions. The issues                   under Ohio law. As a result, the games were no longer
between the parties center on the status of a prepetition              “skill” games, but games of chance, and therefore illegal.
business contract between the parties.

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At some point prior to October 2007, the State of Ohio          violation of Paragraph 7.3 of the Agreement.
seized the assets of Debtor, rendering performance of
obligations under the Agreement impossible and Debtor         The letter was dated February 22, 2008 and signed by
effectively ceased operating. Most of the necessary duties,   Mark N. Poovey, an attorney for Defendant.
including collection of accounts, was temporarily shifted
to Defendant, with Debtor’s knowledge and consent.            Breaches of the Agreement are covered in Section 5.1:

*2 The parties met subsequently, had discussions on their
future business involvement, including how to alter the
                                                                            Notwithstanding the foregoing,
games to make them legal skill games, but never reached
                                                                            either party shall have the right
a formal consensus on the parties’ future relationship. The
                                                                            to terminate this Agreement for
parties’ dealings are complicated by Debtor’s loss of a
                                                                            cause at any time should the
key employee, Jay Young, and Defendant’s opposition to
                                                                            other party materially breach any
Grant Kowell stepping in the shoes of Mr. Young.
                                                                            covenant,     representation     or
                                                                            warranty made herein. Prior to a
Although Debtor’s assets were returned at some point at
                                                                            termination on such basis, the
2008, the parties’ business relationship substantially
                                                                            non-breaching party will provide
deteriorated through this period, culminating in the
                                                                            the breaching party with written
issuance of a letter from Pace, in early February 2008,
                                                                            notice that the breaching party is
attempting to terminate the Agreement. As grounds, he
                                                                            not in compliance with this
cited the assignment of ownership interest from Mildred
                                                                            Agreement and such breaching
Kowell to her husband, Grant “Fuzzy” Kowell, as well as
                                                                            party shall have thirty (30) days
the lack of performance of “distribution functions” under
                                                                            following such notice to cure the
the Agreement. Responsive correspondence on behalf of
                                                                            alleged default to the satisfaction
Debtor and/or its principals was issued on February 11,
                                                                            of the non-breaking party;
2008. In turn, Defendant sent a second letter of
                                                                            provided however, that if such
termination, citing multiple breaches of the Agreement:
                                                                            breach cannot be cured within
  —Failure to use commercially reasonable efforts to                        such thirty (30) day period, but
  actively increase the placement of covered games as                       (a) the breach is capable of cure,
  stated in Paragraph 2.1.                                                  (b)     the    breaching      party
                                                                            commences to effect a cure
  —Failure to maintain an inventory of spare parts in                       within such thirty (30) days
  violation of Paragraph 4.1(a).                                            period and (c) the breaching
                                                                            party diligently pursues such
  —Failure to comply with any of the duties and                             cure, such party shall have a
  obligations in Paragraph 4.1(b).                                          reasonable time to cure such
                                                                            default. Notwithstanding the
  —Failure to properly operate and account for the                          foregoing, the non-breaching
  Escrow Account referenced in Paragraph 4.2 or to see                      party may suspend performance
  that referenced third parties were paid from said                         under this Agreement during the
  account.                                                                  cure period if the breach by the
                                                                            other party could reasonably be
  —Failure of O.S.G. to pay hundreds of thousands of                        expected to result in a violation
  dollars in invoices from P.O.M. [Pace–O–Matic] which                      of applicable law.
  are now far past due, in violation of Paragraph 4.2 of
  the Agreement.

  —Breach of Paragraph 7.2 by actual or de facto attempt      *3 Debtor filed a chapter 11 case on March 1, 2008. On
  to assign all duties, rights, and obligations under the     April 24, 2008, Debtor filed an amended complaint
  Agreement to Grant “Fuzzy” Kowell, not to mention           initiating this adversary proceeding, seeking declaratory
  the unconsented to relinquishment of ownership of           judgment “determining the rights, status and obligations
  O.S.G. by two of its shareholders.                          of the parties to the Agreement,” an accounting of funds
                                                              collected by Defendant under the Agreement, and
  —Failure to utilize Game Distributor Agreements in          turnover of said funds. Defendant answered the complaint

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on May 19, 2008 and included counterclaims for              believes demonstrate the absence of a genuine issue of
declaratory judgment, breach of contract, recoupment,       material fact.”    Celotex Corp. v. Catrett, 477 U.S. 317,
and accounting. Debtor now seeks to assume the contract;    32.3 (1986). In reviewing the evidentiary materials, the
Defendant opposes the assumption. The Agreement             facts and inferences arising therefrom are to be viewed in
contains a clause dealing with assignment.                  the light most favorable to the non-moving party.
                                                               Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475
                                                            U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). If
                                                            the movant successfully demonstrates the absence of
                                                            apposite factual issues, the non-movant must refute the
  7.2 Assignment                                            suggestion by establishing, from more than mere
                                                            pleadings, the existence of facts giving rise to material
  This Agreement and the duties, rights and obligations     questions.      Celotex, 477 U.S. at 324 (referencing
  arising hereunder may be assigned by a party hereto       Fed.R.Civ.P. 56(e)).
  only with the prior written consent of the other party
  which consent may not be unreasonably withheld;
  provided, that Manufacturer may assign this Agreement
  to any party directly or indirectly controlling it,
  controlled by it or under common control with it. For
  the purposes of this Section, “control” means the         II. Assumption of the Agreement
  ownership of a majority of the equity interest in the     Debtor seeks to assume the contract under      11 U.S.C. §
  entity and/or voting control.                             365(a):



                                                                          (a) Except as provided in section
                                                                          756 and 655 of this title and in
                LAW AND ANALYSIS                                          subsections (b), (c) and (d) of
                                                                          this section, the trustee1, subject
                                                                          to the court’s approval, may
                                                                          assume or reject any executory
I. Summary Judgment Standard                                              contract or unexpired lease of the
Motions for summary judgment are governed by Federal                      debtor.
Rule of Bankruptcy Procedure 7056, which incorporates
Federal Rule of Civil Procedure 56, and states, in
applicable part:
                                                            Although Debtor may challenge the defaults listed in the
                                                            termination letters, Debtor argues that the defaults are
                                                            inconsequential because, as of the petition date, Debtor
              The judgment sought should be                 still had an opportunity to cure the defaults, relying on
              rendered if the pleadings, the                    section 365(b):
              discovery      and     disclosure
              materials on file, and any                        *4 (b)(1) If there has been a default in an executory
              affidavits, show that there is no                 contract or unexpired lease of the debtor, the trustee
              genuine issue as to any material                  may not assume such contract or lease unless, at the
              fact and that the movant is                       time of assumption of such contract or lease, the
              entitled to judgment as a matter                  trustee—
              of law.
                                                                (A) cures, or provides adequate assurance that the
                                                                trustee will promptly cure, such default ..., and

Fed. R. Bankr.P. 7056. The movant bears the initial             (B) compensates, or provides adequate assurance
burden of proof, being tasked with the “responsibility of       that the trustee will promptly compensate, a party
informing the ... court of the basis for its motion, and        other than the debtor to such contract or lease, for
identifying those portions [of the record] ... which it         any actual pecuniary loss to such party resulting

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     from such default; and                                     Debtor’s position is based on the minority viewpoint: that
                                                                the agreement can be assumed under application of an
     (C) provides adequate assurance of               future    “actual” test. See, e.g.,   Institut Pasteur v. Cambridge
     performance under such contract or lease.
                                                                Biotech, 104 F.3d 489 (1st Cir.1997);       In re Aerobox
Defendant opposes the assumption, arguing that Debtor’s         Composite      Structures,    LLC,     373     B.R.   135
inability to assign the contract leaves it without the option   (Bankr.D.N.M.2007). Under this view, the actual intent of
to assume the contract. Defendant’s position is founded         the party is material. If assignment is not contemplated,
                                                                the applicable law cannot bar assumption.
on     11 U.S.C. § 365(c):
                                                                *5 The Sixth Circuit Court of Appeals has not rendered an
     (c) The trustee may not assume or assign any
                                                                opinion on this particular conflict, but it did expound on
     executory contract or unexpired lease of the debtor,
     whether or not such contract or lease prohibits or            section 365 in Rieser v. Dayton Country Club Co.
     restricts assignment of rights or delegation of duties,    ( In re Magness), 972 F.2d 689 (6th Cir.1992), which is
     if—                                                        instructive. The Magness court specifically stated it was
                                                                not addressing assumption: “we should make clear that
     (1)(A) applicable law excuses a party, other than the      we are not dealing with the right to assume the
     debtor, to such contract or lease from accepting           membership with all its baggage, thus permitting the
     performance from or rendering performance to any           debtor to play golf.” Magness at 694. Assumption would
     entity other than the debtor or the debtor in              have imposed duties, including the payment of dues,
     possession, whether or not such contract or lease          burdening the estate. In Magness, the chapter 7 trustee
     prohibits or restricts assignment of rights or             sought to assign, through an auction process, Debtor’s
     delegation of duties; and                                  golfing membership interest in a country club. The
                                                                golfing membership interest was a special interest in the
     (B) such party does not consent to such assumption         club because golfing memberships were limited in
     or assignment....                                          number, attendant with higher fees, and subject to specific
                                                                transfer limitations. Members who wanted to advance to a
The parties do not dispute the applicability of    section      golfing membership were required to pay a substantial fee
365, nor the existence of an executory contract. Defendant      and be placed on a waiting list. If successful, the trustee’s
clearly does not consent to the assumption or assignment        assumption of the contract and sale would have bypassed
of the Agreement by Debtor. The basic issue is whether          the club’s golfing membership system, potentially
the contract can be assumed by Debtor. If the Agreement         allowing someone who was not on the waiting list to
cannot be assumed, there is no reason to discuss cure of        obtain a golfing membership.
the Agreement.
                                                                The case discusses the inter-play between       bankruptcy
The controversy between the parties is based on differing
                                                                code sections 365(c)(1) and         365(f)(1). Generally, a
interpretations of      section 365(c)(1)(A). Defendant,
espousing the majority viewpoint, argues that since             trustee can assume an executory contract under           11
“applicable law” bars assignment of the underlying              U.S.C. § 365(a), The same general principle exists, by
agreement, both assumption and assignment are                   virtue of      11 U.S.C. § 365(f)(1), for assignments.
prohibited. See Perlman v. Catapult Entertainment, Inc.             Section 365(c)(1) provides the exception to these
(In re Catapult Entm’t, Inc.), 65 F.3d 747 (9th Cir.1999).      general rules. In Magness, the court reconciled the
Under this test, you presume that assignment is a foregone      duplicate use of “applicable law” in both 365(c)(1)(A)
conclusion. As described in Catapult, “a debtor in              and 365(f), ultimately determining that the “applicable
possession may not assume an executory contract over the
non-debtor’s objection if applicable law would bar              law” referred to in     section 365(c)(1) “address[es] the
assignment to a third party, even where the debtor in           interest of the non-debtor third parties, rather than law
possession has no intention of assigning the contract in        relating to general prohibitions or restrictions on
question to any such third party.” Catapult at 750 (citing      assignment of executory contracts covered by              §
In re James Cable, 27 F.3d at 537 (characterizing        §      365(f).” Id. at 696. The court ruled against the trustee,
365(c)(1)(A) as presenting “a hypothetical question”);          concluding that the club could not be forced to accept
                                                                performance from third-parties because the contract was
   In re West Elecs. Inc., 852 F.2d 79, 83 (same)). Actual      personal between the debtor and the club. As a result, the
intent is irrelevant.                                           trustee could not assign the interest.

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                                                               Inc., 200 B.R. 222 (Bankr.M.D.Neb.1996);           In re
The court recognizes that Magness attempted to address         American Ship Bldg. Co., Inc., 164 B.R. 358
the difference between “applicable law” in          section    (Bankr.M.D.Fla.1994);      Texaco Inc. v. Louisiana Land
365(f)(1) and use of the same term in               section    and Exploration Co., 136 B.R. 658 (M.D.La.1992);      In
365(c)(1). However, the definition cannot change based         re Cardinal Indus., Inc., 116 B.R. 964 (Bankr.S.D.Ohio
on the fact that the term “applicable law” is not used in      1990), Consequently, the distinction between assuming
   section 365(a). As a result, this court must follow the     for the purposes of assigning versus only assuming an
interpretation of the Magness court. The            section    executory contract are noteworthy.
365(c)(1)(A) exception applies equally to assumptions or
assignments, as the specific language demonstrates. Thus,      In some cases, such as Magness, the two cannot be
the court finds that, under the facts presented, the proper    severed because the inability to assign the contract would
way to read the exception is in the following light: the       result in rejection. This is most notably seen in chapter 7
debtor may not assume the Agreement if applicable law          cases where a trustee seeks to sell the estate’s interest in a
excuses Defendant from accepting performance from or           contract but has no intention of performing under the
rendering performance to a non-debtor third party              contract. In a situation involving a chapter 7 trustee, the
regardless of clauses in the Agreement governing the              section 365(c)(1) exception would alleviate a party
rights to assign or delegate duties, Because the               from accepting performance from, or rendering
assumption would maintain the parties relationship under       performance to, a chapter 7 trustee, thereby protecting the
the Agreement, this is not a situation where Defendant         “personal” nature of the contract.
will be forced to accept performance from an unknown
third party when it contracted for those services from         Allowing “applicable law” to drive the assumption
Debtor. Essentially, this is also equivocates adoption of      determination, when said law may be entirely
Debtor’s position and employment of the actual test.           inapplicable, would allow creditors a potential windfall
                                                               through a fast exit from their duties and obligations. Here,
*6 This understanding does not create an absurd result.        if Debtor cannot assume the contract, the likelihood of
Debtor wants to assume the Agreement. The Agreement            successful reorganization plummets. Allowing Debtor to
is the soul of Debtor’s business and the inability to          assume the contract merely puts the parties in the position
capitalize on the Agreement forced Debtor into Chapter         they were in on the day the bankruptcy was filed, leaving
11. There has been no discussion of assigning this             them both with the benefits, and detriments, of their
contract to a third party. Rather, Debtor seeks to cure the    bargain.
alleged defaults and continue operating under the
Agreement. The ability to assume the contract is key to        *7 Defendant wants to be relieved of this contract by
Debtor’s survival. Thus the court would be remiss in           relying on “applicable law” that prevents assignment.
overlooking the assumption issue in favor of the               Upon review of the Agreement, this would provide
assignment issue. This type of factual distinctions has        Defendant more relief than contracted. The Agreement
been noted. See, e.g., Murray v. Franke–Misal Tech.            does not prohibit assignment, but merely conditions it:
Group, LLC ( In re Supernatural Foods, LLC), 268               “This Agreement and the duties, rights and obligations
B.R. 759 n. 30 (Bankr.M.D.La.2001) (finding that               arising hereunder may be assigned by a party hereto only
                                                               with the prior written consent of the other party which
application of the “actual test” under       section 365(c)    consent may not be unreasonably withheld....” This is not
arises “exclusively within the Chapter 11 context, where a     a case where assignment was prohibited outright, but
debtor in possession wishes to assume executory contracts      adopting Pace’s position would have that result.
to maintain them for the estate, if applicable law prohibits
only assignment, assumption is allowable”). On facts           Considering all of the above, the court finds that, as of the
where assumption alone is contemplated, not assignment,        petition date, Debtor could assume the contract subject to
courts tend toward adoption of the actual test, or an
                                                               the default conditions set forth in   11 U.S.C. § 365(b).
interpretation favoring assumption. See         Summit Inv.
and Dev. Corp. v. Leroux, 69 F.3d 608 (1st Cir.1995)              Section 365(c)(1)(A) is not a bar to assumption on the
(following chapter 11 bankruptcy filings by two general        facts of this case.
partners, court rebuffed non-bankruptcy general partner’s
attempt to enforce ipso factor provision in partnership
agreement);        In re Footstar, Inc., 323 B.R. 566
(Bankr.S.D.N.Y.2005);        In re GP Express Airlines,
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III. Cure of the Agreement                                       governs assignment of the Agreement and does not
After finding the Agreement can be assumed by Debtor,            prohibit the action complained of by Defendant. The
the court must now address the default issues raised by          clause governs assignment of the Agreement, not a
the parties.    Section 365(b) contains three requirements       transfer of stock by owners of one of the contracting
for effectuating a cure of prepetition defaults: (1) cure the    parties. The change of ownership of Debtor did not alter
default, or provide adequate assurance of a prompt cure;         the Agreement, nor the identity of the parties to the
(2) compensate, or provide adequate assurance of such            Agreement. The Agreement was made by Ohio Skill
compensation will be made, to a party who has suffered           Games, Inc., not with an individual. The court finds no
an “actual pecuniary loss;” and (3) “provide adequate            foundation for the alleged breach. At a minimum, it is not
assurance of future performance.” Debtor alleges it can          a “material” breach under’ the Agreement. Consequently,
provide the necessary compensation or adequate                   no cure is required.
assurance to provide a cure under           section 365(b),      The first letter also contains a general allegation that
while Defendant disagrees. With regard to any monetary           Debtor was failing to perform the “distribution functions
defaults, Debtor contends that the money Pace collected          or other duties required of Ohio Skill Games under the
for Debtor under the Agreement could be used to cure the         Agreement.” (Debtor’s M. Summ. J. Exh. D). This
defaults. Defendant points out that Debtor has essentially       apparently relates to Debtor’s obligations under Section 2
ceased to exist, has no employees or operations, no              of the Agreement. However, the allegation of breach is
money, and further argues that certain items simply are          vague. The second letter is more specific, but references
not capable of cure. Defendant argues that it is impossible      one breach of Section 2: “[f]ailure to use commercially
for Debtor to provide adequate assurance of future               reasonable efforts to actively increase the placement of
performance because Debtor does not have qualified               covered games as stated in Paragraph 2.1.” Under Section
personnel to operate the business. It is clear that              2.2, the Agreement states: “[t]he minimum net Covered
Defendant objects to Mr. Kowell taking over duties               Game Placement requirements for Ohio have already
previously handled by Jay Young. The court will review           been met.”2 No maximum requirements are established in
the allegations of default individually.                         the Agreement, nor are additional benchmarks outlined.
                                                                 As a result, Defendant’s position is untenable. The court
Section 5.1 of the Agreement requires a party to provide         finds that when the Agreement was signed, Debtor had
written notice of termination for a “material” breach and        placed the required number of games in Ohio and thereby
allow the breaching party a minimum thirty days to cure          satisfied its obligations under Paragraph 2.1. The
the alleged breach. It is clear that prior to Debtor’s filing,   Agreement failed to establish any further performance
two termination letters were issued. The first was signed        benchmarks.
by Pace. It is attached as Exhibit D to Debtor’s motion for
summary judgment and is undated. Debtor claims that it           The bulk of the remaining items of default relate to
received this letter “sometime in the first week of              Debtor’s duties under Section 4 of the Agreement, titled
February.” (Debtor’s M. Summ. J., p. 7). Defendant does          “Game Servicing.” The alleged breaches include:
not dispute this contention, or argue for an earlier date, so
the court will find that Debtor had notice of the                  —Failure to maintain an inventory of spare parts in
termination on February 7, 2008. Consequently, as of the           violation of Paragraph 4.1(a).
filing date of the petition, time remained for Debtor to
cure the Agreement. Similarly, a second letter of                  —Failure to comply with any of the duties and
termination was issued on February 22, 2008, so time to            obligations in Paragraph 4.1(b).
cure the breaches referenced in that letter also remained
as of the petition date. The Agreement was not terminated          —Failure to properly operate and account for the
prior to Debtor’s bankruptcy filing.                               Escrow Account referenced in Paragraph 4.2 or to see
                                                                   that referenced third parties were paid from said
*8 In the first letter, Defendant cites the transfer of            account.
ownership of Debtor from Mildred Kowell to her husband
as a breach. This is reiterated in the second letter, where        —Failure of O.S.G. to pay hundreds of thousands of
Defendant cites a “[b]reach of Paragraph 7.2 by actual or          dollars in invoices from P.O.M. [Pace–O–Matic] which
de facto attempt to assign all duties, rights, and                 are now far past due, in violation of Paragraph 4.2 of
obligations under the Agreement to Grant “Fuzzy”                   the Agreement.
Kowell, not to mention the unconsented to relinquishment
of ownership of O.S.G. by two of its shareholders.”              Additionally, Defendant claims a breach of Section 7.3:
(Debtor’s M. Summ. J., Exh. D and E). Paragraph 7.2              “[f]ailure to utilize Game Distributor Agreements in

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violation of Paragraph 7.3 of the Agreement.”                       U.S.C. § 365(c)(1) does not bar assumption. However,
                                                                    Debtor’s ability to assume is subject to its ability to cure
Questions of fact abound in ascertaining whether these              the defaults as outlined in   section 365(b). Questions of
alleged defaults can be cured. For example, Debtor                  fact preclude summary judgment on the issue of whether
contends it has an inventory of spare parts and, to the             Debtor can effectuate a cure, Consequently, the Court will
extent Defendant finds it inadequate, it is willing to              grant, in part, Debtor’s request for summary judgment on
acquire an amount sufficient to cure the default. No                count one, the declaratory judgment count. Assumption of
supporting documentation has been was provided to
describe Debtor possessed when the termination letter               the Agreement will be approved subject to            section
was issued, nor are their specifics on the how, or why, the         365(b), In the same vein, Defendant’s motion for
parts inventory was deficient.                                      summary judgment will be denied.

*9 Further, the parties did not provide an itemization of           Debtor also moved for summary judgment on count three
the amounts collected by Defendant following seizure of             of its amended complaint seeking turnover. The court
Debtor’s assets. To the extent that Debtor relies on those          finds Debtor failed to fully develop arguments on this
monies as both a cure and adequate assurance, the amount            issue, instead focusing on count one. As a result, the
is material. It is also pertinent to Defendant’s claims that        Court finds that Debtor did not establish either the
hundreds of thousands of dollars are due to Defendant.              absence of genuine issues of material fact or its
The other items similarly involve questions of fact which           entitlement to judgment as a matter of law on count three.
are not appropriate for the court to decide on a motion for         Consequently, the motion for summary judgment will be
summary judgment.                                                   denied as it pertains to the count for turnover.

                                                                    An order will be entered forthwith.


                                                                    All Citations

                      CONCLUSION                                    Not Reported in B.R., 2010 WL 2710522

Since Debtor is not contemplating assignment,            11
                                                          Footnotes


1
       The parties do not dispute that the Debtor, as debtor-in-possession, can exercise the rights of the trustee. See also
       11 U.S.C. § 1107(a).



2
       The only issues presented in this adversary pertain to the Ohio activities.




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